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LINITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROSEMARIE RICHARDSON,
                                                 Plaintiff,
                                                                    DECLARATION OF KEVIN
                          - against -                               P. CONNOLLY IN SUPPORT
                                                                    OF'DEFENDANTS' MOTION
CARMEN FARINA, KATHERINE G. RODI, CANDA
MCLAREN, MIRIAM M. BERARDINO, ANNA
                                                                    TO        DISMISS                THE
                                                                     COMPLAINT
THE NEW YORK CITY DEPARTMENT
EDUCATION, THE NEW YORK CITY BOARD
EDUCATION, and THE CITY OF NEV/ YORK,
                                                                     16-CV-01364 (JPO)
                                                 Defendants




        Kevin P. Connolly cleclares, pursuant to 28 U.S.C. ç 1746 and underpenalty of perjury,

that the following is true and correct:

        l.      I   am an Assistant Corporation Counsel in the office        of   Zachary     W,    Cafier,

Corporation Counsel of the City of New York, attomey for defendants the New York City

Department of Eclucation, the New York City Board of Education, and the City of New Yorkl

(collectively "Defendants") in the above-captioned action. I respectfully submit this declaration

in support of Defenclants' motiou to dismiss the complaint.

       2.      Annexecl as Exhibit        "4" is a true and correct copy of the complaint filecl on
February 22,2016 on behalf of Plaintiff Rosemarie Richardson, along with the exhibits plaintiff

annexed to her complaint, which are relied upon and cited in the the memorandum of law,

submitted in support of the motion.




' No appearance is made on behalf of defendants Carmen Farina, Katherine G. Rodi, Candace
Mclaren, Miriam M. Berarclino, and Anna Steel (collectively "lnclividr"ral Defendants") at this
time. Upon ilifonnation ancl belief, to date, the lndividual Defendants have not been properly
served with the Summons and Complaint.
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 Dated: New York, New York
        May 19,2A16
                                              Respectfully Submitted,
                                               ZACHARY W. CARTER
                                               Corporation Counsel of the City of New York
                                               A t to rn ey for D efend ants
                                               100 Church Street, Room 2-143
                                               New York, New York 10007
                                               (212) 3s6-1 180
                                               kconnoll@law.nyc.gov


                                               By:    lsl
                                                      Kevin P. Connolly
                                                      Assistant Corporation Counsel


cc:             Bv ECF and First-Class Mail
                ItKOWitZ PLLC
                26 Broadway,2T't Floor
                New York, New York 10004




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 AO 440 (Rev.06/12) Summons in   a   Civil Action


                                         UNrrpo Sreres Drsrrucr CouRr
                                                                   fbr the
                                                     Southern District of New York

                ROSEMARIE RICHARDSON                                 )
                                                                     )
                                                                     )
                                                                     )
                          Plaintffis)                                )
                                 v                                   )       Civil Action No. l:16-cv-01364
                                                                     )
                  CARMEN FARINA, et al.
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                         Delendant(s)
                                                                     )

                                                    SUMMONS IN A CIVIL ACTION

To:    (Defendant's name and address) See attached    rider   1,




           A lawsuit has been fìled against you.

         Within 2l days after service of this surnmons on you (not counting the day you received it)    or 60 days if you
                                                                                                               -
are the United States or a United States agency, or an office¡ or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                     -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are:
                                         Jay B. ltkowitz
                                         Itkowitz PLLC
                                         26 Broadway,2l Floor
                                         New York NY 10004



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the coun.



                                                                               CLERK OF COURT


Date        2/22/2076                                                                /s/ P. Canales
                                                                                         Signature of Clerk or Deputy Clerk
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                                Rider   I
Defendants:

CARMEN FARINA, KATHERINE G. RODI, CANDACE R. MCLAREN, MIRIAM M,
BERARDINO, ANNA STEEL, THE NEW YORK CITY DEPARTMENT OF EDUCTION,
THE NEW YORK CITY BOARD OF EDUCATION AND THE CITY OF NEIV YORK

Address (for all defendants):

52 Chambers Street
New York, NY 10007
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    61t72




Jay B. Itkowitz (JBI-5349)
ITKOWITZ PLLC
26 Broadway,2l't Floor
New York, New York 10004
(646) 822-1801
jitkowitz@itkowitz. com

Attorneysþr Plaintiff

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROSEMARIE RICHARDSON

                               Plaintiff,                    Index   No.   1:16-cv-01364


                  -against-                                  VERIFIED COMPLAINT


CARMEN FARINA, KATHERINE G. RODI,                            PLAINTIF DEMANDS A
CANDACE R. MCLAREN, MIRIAM M.                                .I-URY,TRLAI,
BERARDINO, ANNA STEEL, THE NEW YORK CITY
DEPARTMENT OF EDUCTION, THE NEW YORK
CITY BOARD OF EDUCATION AND THE CITY OF
NEW YORK

                               Defendants



                 Plaintiff ROSEMARIE RICHARDSON ("Plaintiff' or "Richardson"), by            her

attomeys, Itkowitz PLLC, as and for her complaint against the Defendants CARMEN FARINA

("Farina"), KATHERINE         G. RODI ("Rodi"), CANDACE R. MCLAREN                  ("Mclaren"),

MIRIAM M. BERARDINO ("Berardino"), ANNA STEEL (o'Steel"), THE BOARD OF

EDUCATION OF THE CITY OF NEW YORK ("BOE") AND/OR THE DEPARTMENT OF

EDUCATION OF THE CITY OF NEW YORK (*DOE") (collectively "Defendants"), alleges

as    follows:

                                            THE PARTIES

                 1.     Plaintiff resides at 622East2Oth Street, New York, New York 10009.
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               2.       At all relevant times, Richardson was a tenured administrator in the New

York City public school system with over 30 years of experience.

               3.       Defendant Farina is the Chancellor of the BOE and/or the DOE and the

chief administrator of the New York City public schools.

               4.       At all relevant   times, Defendant Rodi was and is employed by the

Defendant DOE as Director of the Office of Employee Relations.

               5.       Upon information and belief, at all relevant times, Defendant Mclaren is

and/or was employed as the Director of the Office   of Special Investigations of the DOE.

               6.       Upon information and belief, at all relevant times Defendant Berardino is

and/or was a Confidential Investigator for the Office of Special Investigations for the DOE.

               7.       Upon information and belief, at all relevant times Defendant Steel was a

Confidential Investigator for the Office of Special Investigations for the DOE.

               8.       The BOE and/or the DOE is a public corporation with a principal location

in the County of New York.

               9.       The BOE and/or the DOE operates the New York City public schools.

               10.      The BOE and/or the DOE is a person within the meaning of 42 USC          $


1983.

               I   l.   The BOE and/or the DOE maintains a principal place of business at 52

Chambers Street, New York, New York.

                                 JURISDICTION ANP VENUE

               12.      Jurisdiction over this action   is   based upon 28 U.S.C. $$    l33l   and

l3a3(a)(3) as this matter involves federal questions under 42 USC $ 1983 and the Fourteenth

Amendment of the United States Constitution.

               13.      Jurisdiction is also predicated on 28 USC $ 1343(a) in that the claims

                                                2
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asserted herein provide for the protection of   civil rights.

               14.     Plaintiff also seeks declaratory relief pursuant to 28 USC $$ 2201 and

2202.

               15.     This Court also has supplemental jurisdiction over Plaintiffs state law

claims pursuant to 28 USC $ 1367 because the state claims are so related to the federal claims

that they form part of the same case and/or controversy befween Plaintiff and Defendants.

               16.     Venue   is proper in the United          States District Court   for the   Southern

District of New York pursuant to 28 U.S.C. $ l39l(b).

               17.     In the event Plaintiff prevails in this proceeding, she will be entitled to

attorneys' fees and costs pursuan|to 42 USC $ 1938.

        NATURE Or CLArM ANp FACTS GrvrNG Rr$p TO,THE C9TURI,AII,II,I

               18.    The BOE and/or the DOE deprived Ms. Richardson of her constitutional

rights pursuant to the 14th Amendment of the United States Constitution and her statutory rights

pursuant   to the New York   State Education Law         $ 3020-a by subjecting Ms. Richardson to
disciplinary proceedings and placing Ms. Richardson on an "ineligible list" thereby stigmatizing

hcr and damaging her liberty and property interests, all without the benefit of a hearing               as

required by the United States Constitution and the New York State Education Law.


               19.    On or about October 13, 2011, the Office of Special Investigations

("OSI") received a referral from the Special Commissioner of Investigation ("SCI") claiming

Richardson, a supervisory employee with tenure, had "falsely documented" that a mother had

participated in a telephone conference with the respect to a student's Individualized Education

Program ("IEP").

               20.    On or about November 29,201I, upon information and belief, Defendant

Steel, an OSI investigator, notified Richardson that she was the subject            of an unspecifìed
                                                   J
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investigation.

                 21.   Defendant Richardson was not given any details of the allegations which

had been purportedly asserted against her.

                 22.    Subsequently, upon information and       belie{ Defendant Steel, the OSI

investigator conducted an "interview" with Ms. Richardson on or about December 16,2011.

                 23.   During the "interview" for the first time, Richardson was advised that    a

parent had asserted that Richardson had "falsely documented" that the parent had participated in

a telephone conference on June 28,2011    with the respect to the parent's child's IEP.

                 24.   During the "interview" Richardson was advised she had failed to contact

the student's service provider to schedule the IEP conference, failed to contact the mother of the

student to schedule the IEP conference and failed to follow various o'timelines" imposed by the

NYS regulations and the Education Law.

                 25.   Prior to the "interview" at no time was Richardson given any notice

whatsoever of any specific complaints about her performance, let alone an opportunity to prepare

a defense.

                 26. At tlre "iuterview",    Richardson denied and herein denies the allegation

that she "falsely documented" that the parent had participated in a telephone conference on June

28,2071 with the respect to the parent's child's IEP.

                 27. At the "interview", Richardson denied and herein denies that she had
failed to contact the student's service provider to schedule the IEP conference, failed to contact

the mother of the student to schedule the IEP conference and failed to follow various 'otimelines"

imposed by the NYS regulations and the Education Law.

                 28.   At the "interview", Richardson was not permitted   access to her files.




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               29.     At no time prior to and/or after the "interview" was Richardson         given

access to telephone records maintained by DOE in the regular course       of business with respect to

IEP proceedings.

               30.     To Richardson's knowledge, nothing ever occurred after the "interview"

on December 16,2017.

               3l.     Richardson retired in July of 2012.

               32.    Unbeknownst     to Richardson, OSI continued to         process the complaint

without notice of any kind to Ms. Richardson.

               33. At no time was Richardson given any written notice of any specifìc
allegations and an opportunity to contest the same.

               34.     On or about August 14,2012 in OSI Case       #   I 1-935, Defendant Berardino

recommended that the allegations   be   "substantiated" that Richardson had purportedly "falsely

documented" that the subject parent had participated in a telephone conference on June 28,2011,

failed to contact the student's service provider to schedule the IEP conference, failed to contact

the mother of the student to schedule the IEP conference and failed to follow various "timelines"

imposed by the NYS regulations and the Education Law.

               35.    On or about August 14, 2012, Defendant Berardino recommended that

Richardson "be placed on the Ineligible List and not be considered for ñlture employment with

the DOE".

               36.    The recommendation        by    Defendant Beradino was "approved" by

Defendant Mcl.aren.

              37. At no time did Defendants           Beradino and/or Mclaren and/or the BOE

and/or the DOE provide Richardson     with notice that any allegations had      been "substantiated"

andlor "approved".

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                  38.     At no time did Defendants Beradino and/or Mclaren and/or BOE         and/or

the DOE provide Richardson with notice that she had been placed on" the Ineligible List and not

be considered for future employment with the DOE."

                  39.     Ms. Richardson did not find out about this administrative action until July

20,2015.

                  40.     The circumstances by which she discovered this action occurred when she

applied for an educational position with Manual Therapy Center, Inc. on Aprit23,2015.

                  41.     As part of the vetting process, her name was submitted for vetting for

security clearance with the DOE.

                  42,     Her application for security was denied and it was not until July 20,2015

that she learned that the DOE had placed Richardson on an oolneligible List."

                  43.     On July 28, 2015, Richardson received a letter for the DOE advising her

that because of a "report" dated August 14,2012, Richardson denied a "security clearance" to

work as an Educational Administrator for the DOE. A copy of the letter is annexed as Exhibit
o,1 rr.



                  44.     Richardson had never received prior notice of any "report" placing her on

an   "Ineligible List."

                  45.     In further investigating the circumstances of this event, she   checked her

personnel fìle    with DOE and discovered that no record of such action was contained in          her

personnel file.

                  46.     It took a letter from her prior counsel, Neal   Rosenberg, dated August 12,

2015 to dislodge the offending letter documenting the administrative action from DOE which he

received on or about September 9,2015 in which he received the offbnding determination via




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email from Mallory Sullivan.         A copy of the Rosenberg      letter and response are respectively

annexed as Exhibits    "2" and"3".

                47.      Subsequentl¡ Mr. Rosenberg requested that Ms. Sullivan reconsider the

determination in issue via letter dated September 29,2015. A copy is annexed as Exhibit "4".

                 48.     By letter    dated October 20,2015, Katherine G. Rodi, Director       of   the

Office of Employee Relations for the DOE, "affirmed" the original findings in the "approved"

recommendation dated August 14,2012. A copy of the letter dated October 20,2015, which was

mailed by Rodi to Richardson, is annexed as Exhibit "5".

                 49,     On January      ll,   2016, Richardson served and filed a Notice of Claim

against the BOE and DOE and the Comptroller               of the City of New York alleging that     the

foregoing actions by the OSI, the DOE, the Board of Education and the City of New York,

deprived Ms. Richardson of her constitutional and statutory rights to due process and to defend

the allegations before an impartial court and/or hearing officer and the right to confront those

who accused her of the charges which were substantiated. A copy of the Notice of Claim is

annexed as Exhibit    "6".

                50.      More than thirty days has elapsed since the Notice of Claim has been filed

against the DOE and BOE and the claim has not been adjusted.

                51.     Upon information and beliet Richardson remains on the "Ineligible List"

and continues to be disqualified from being employed, in any capacity, by the BOE and/or DOE

and/or any contractor who contracts vvith the DOE andior BOE.


                         AS ANp FOR A FrRST CAUSE OF ACTION
                   (Violation of the f'ou rteen th Amendm ent/Liberty Interest)

                52.     Plaintiff repeats and realleges all of the allegations set forth in paragraphs

"l " through "5I " as if fully   set forth below


                                                     7
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                53,          The placement of Richardson on the BOE and/or DOE's "Ineligible List"

has deprived Richardson of due process          of law.

                54.          In continuing to disqualify Richardson from employment vvith the DOE

and/or BOE and/or any contractor who contracts with the BOE and/or DOE,                                  the

Defendants have injured Richardson's good name and reputation and have foreclosed her from

practicing her profession without due process and/or the ability to contest the allegations arising

from the "investigation" of Richardson.

                55.          As a proximate result of Dofendants' conduct, Richardson has suffered

and continues to suffer substantial losses in earnings and other benefits she would have received

absent Defendants' improper action.

                56.          As a further proximate result of the above-described actions, Richardson

has suffered humiliation, mental pain and anguish. These injuries justify an award of

compensatory damages in an amount to be determined by a jury at trial.

                             AS AND FOR A SECOND CAUSE OF                  AçTrON
                                     (Violation of Dducation Law)

                57.          Plaintiff repeats and realleges all of the allegations set forth in paragraphs

"1" through "56"   as   if fully set forth below.

                58.          Section 3020-a of the New York Education Law provides that "No person

enjoying the benefits of tenure shall be disciplined or removed during a term of employment

except for just cause.   .   ."

                59.          New York Education Law $ 3020-a provides for a hearing before a single

hearing officer and $ 3020-a(5) requires notice of a hearing officer's decision after which an

employee may make an application to the New York Supreme Court.

               60.           An employee who resigns with tenure retains the rights of a tenured

                                                          8
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employee after resignation.

                 61.    The failure to afford Richardson a hearing before an impartial hearing

officer and to provide Richardson with a notice and opportunity to be heard with respect to any

allegations regarding her conduct, violated Education Law $ 3020'a.

                 62.    Accordingly, Richardson is entitled to compensatory damages in an

amount to be determined by an award of compensatory damages in an amount to be determined

by a jury at trial.


                         AS AND T'OR A THIRD CAUSE OF ACTION
                               (Violation of CPLR Article 78)

                 63.    Plaintiffrepeats and realleges all of the allegations set forth in paragraphs

"1n'through "62" as if fully set forth below.

                 64.    In placing Richardson on an "ineligible list" and in "afftrming"        such

determination without notice and an opportunity        to be heard, Defendants have acted in       an

arbitrary and capricious manner, have committed an error in law and procedure andlor an abuse

of disuetion in violation of $ 7803(3) of New York's Civil Practice Law and Rules.

                 65.    Accordingly, Richardson respectfully requests that the Court annul the

determination placing her on "ineligible list" so that she may be employed by the BOE and/or

DOE and/or any contractors doing business with the BOE andlor DOE.



                 WHEREFORE, Plaintiff demands judgment as follows:

                 (D     On the First Cause of Action, a money judgment in favor     of
                        Plaintiff and against Defendants, plus attorney fees, costs
                        and expenses, in an amount of damages in an amount to be
                        determined by a jury at trial;

                 (ii)    On the Second Cause of Action, a money judgment in
                        favor of Plaintiff and against Defendants, plus attorney
                                                  9
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                      fees, costs and expenses, in an amount of damages in an
                      amount to be determined by a jury at trial; and

              (iii)   On the Third Cause of Action, annulling the determination
                      by the Defendants to place Plaintiff on an "ineligible list"
                      on the grounds that such determination is arbitrary and
                      capricious, an error in law and procedure and/or an abuse
                      of discretion in violation of $ 7803(3) of New York's Civil
                      Practice Law and Rules.


              (iv)    Enjoining the Defendants from placing Plaintiff on an
                      "Ineligible List" without first affording her Due Process of
                      Law;

              (v)     Granting Plaintiff such other and further relief as this Court
                      deems just and proper.



Dated         New York, New York
              February 22,2016

                                                                  ITKOWITZPLLC
                                                                  Auorneysþr Plaintiff

                                                            By:   /s/.Iav B ltkowitz
                                                                  Jay B. Itkowitz (JBI-5349)
                                                                  26 Broadway, 2lst Floor
                                                                  New York, New York 10004
                                                                  (646) 822-180r
                                                                  jitkow itz@itkowi tz. com




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                                          VERIFICATION


STATE OF NEW YORK                     )
                                      )       ss:
COUNTY OF NEW YORK                    )


               ROSEMARIE RICHARDSON, being duly swom, deposesand says:

               I am the Plaintiff in this matter. I have read the foregoing Verified Complaint and

know the contents thereof. The same is true to my own knowledge, except those matters therein

which are stated to be alleged on information and belief, and as to those matters I believe them to

be true.




                                                     Rosemarie


Swort to before me this
þhA"vofFebruary 2016
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               Exhibit
                         ((1           ,)
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Departnent of
Education
                                   TIIE NEW YORK CITY DEPARTMENT OF EDUCATION
                                   Dívision of Human Resoutces
                                  Ofñce of Petsonnel Investþtion
Caucn Fui,io, Chrncellot          65 Court Stteeg Room 200 - Brooklyn, NY 11201



    July 28,2015

     Rosematie Ricba¡dson
     622East20ù Sr,.Apt 98
     NewYorþ NY 10009

     License,/Title/Position: Special Education Supervisot/Teacher/lvf¿¡ual Thempy Ceute¡/DOE Vendor
     ,{pplicant ID#: 0303676
     PRP       #: 128,638

     Deat lvfs. Richatdron,

     The Chief Executive OfÊcer of the Division of Hu¡a:r Resoutces, thtough his desþee, has'¡4ficwcd your
     application for security clearance. Âftet a tüorough teview in accotdance q¡ith the applicable ptovisions of
     lavr, yout application has been deaied'

     Tlre speciåc leâson fo¡ the deniel of yout applicaúoa is based upon dr¡c consideration of tÀe follou'ing:

                                                                                                    Rcason
        erß,   Y                                      9      B't   -7      2         Office of Specid Investigations (OS$
                   Education                                                               Repon Case No. 11-9350




      the annuel teview of her child's IEP.

      If granted security   clearance, you will þE .¡rerl¿ing ín a posiúon wbere you q¡ill be tesponsiblc for þo{, fe
      ma-nagement and the impleneentation of va¡ious student IEP's. Yout inability to plopedy catry out the duties
      and rJsponsibilities of the position you held as a DOE employee c-âuses grâve coocctn when considering your
      ability io satísfactorily polor- in the positiorl you âre seeki4g. Graating you secudty cleatance would pose
      arl u¡reãsoûâble risk to tlæ safety and welfa¡e of the school comrarmit¡ and to tax¡rayer iotetests.

      You were givea the opportunity to ¡eview the above infor¡aation q¡ith the Ofãce of Petsonnel Iovest'getlon
      2ad to proiide i¡fo.rm¿tioa in zupport of yoru application,duri.og yout irtewiew, cooducted on7 /2A/2015.

      'Sle                                                 all ínformation subnritted by you duting yout intervicw) io maling
             have reviewed your entire 6le      þcluding
      this rlecision.




                                             Telephono (718)935-266s - Fax (718) 9354366/s778
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Please be aôrised rhat you ¿¡e unable to reapply   fot cmployme¡t fo¡ tq¡elvc   (12) neoaths ftom the date of this
letter.

Sincetel¡

The Offrce of Personoellnvestþtion
Division of Humao Resourccs
NYC Þeparaneat of Education
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              Exh 1bit
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                                                                    August 12,2f115



       The l,lew York Clty Departmertof Educatiqn
       Division of Humãn R€sÕurces
       Ofrice of Personnel lnve*lgatlon
       65 CourtStreet, Room 20ll
       Erooklyn, NY f1201


                                 Re:      RosemarhRichardson


       Dear Gentlernen:


               Thls offfce has been retafned by the above rcferenced regardlng the letter she recelved (copy
       attached).

              I r¡rrould like to reylew her file and díscuss thls m¡tter further in light of thc fact that she can not
       now be employed as she would like.


                                                                   very


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To:                         Neal Ros€nberg
Suþ¡acl:                    R. Rlchardson
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                                                                             ne¿I.   rosenberd@nyedlaw.com



                                                              Septemter 29, 2015


w¡allory'ö. sull¡van
First Deputy D¡rector, Office of Personnel lnvestigatlon
Division of Human Resources
New.York City Depafiment of Education
65 Court Street, Rm 200
Brooklyn, New York 11201



Eear M! Sullivan:

         ln furtherance of our attempt to permit Ms. Richardson to be employed with either the
Department of Educat¡ôn directly or a vendor to the Department of Educatlon we submlt her response
to the allegatíons agalnst her-

        Flease be remlnded that she never saw the report dated August t4,2OtZ until
                                                                                    ypu klndly
provided lt to me.

         I   thank you for your coopention in this rpatter,




                                                                  H.




cc:   RosemarleRlchardson
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                                 Ms. Rosemarie Richatdson
                                 622Bast20û Steet apt. 9B
                                   NewYork, NY 10009
                                     c.646-3694001
                                      roerichT@aol.com


September 21,2015



Law Offices ofNEal H. Rosenberg
9 Murray Street
Suite 4 West
New York, NY 10007-2281
t.212-732-9450
neal.rosenberg@nyedlaw. com

Dear Mr. Rosenberg:

This flawed investigation has destroyed my career in the New York City Department of
Education and resulted in significant financial losses and irreparable damage to my career'
and reputation, The net resuit ofthis flawed investigation was to experience a harassed
and intim¡datrng work environment. As a result, of these tactics I could not continue as a
Department of Education (DOE) employee.

The OSI August l4,20121etter of this investigation was lost by the DOE, and I had no
                                                                                                 'j

chance for review. Also, the investigator by asking detaited questions and denying me            :
access to the case, documents, CAP and tfunelines involved in the investigation never i
allowed,,me 6 seek accurâte aflswers or the ruth. QSI's intention was only to liable me. j
As ft¡rfher proof of their refi¡sal to aoop€mtë with tltdr own invcstigritioTl wa$ their sol.e î
reliq¡çs on-r,hhd p¡"ty gossþ ruther tha.n doing true investigative work suchas checking Ë
DOE phone r""oidr ón-June 28, 20i t to correctly determine if in fact there was a DOE i
phone conference between myself and said Mothet A, or if the palent was lying. The -)¡
laiiure of OSI to do this øints their "investigation'"

I will now cite the specific concems over this flawed investigation:

In reference to the Division of Human Resources, Office of Personnel lnvestigation, OSI
report dated July 28, 2015 found that my security clearance is denied due to my adverse
employment history with the New York City Departnent of Education (DOE)' W}¡jle
emþtoyed as an Educational Administrator for the DOE,I was the subject of an OSi
invãstigation on Decembet 16,2011. This report found that in my position as a
Corn¡nittee on Preschool Special Education (CPSE) Adminishato¡, I failed to follow the
timelines under Section 200.16 of the NYS Regulations and Section 4410 of Education
Law Article 89, I failed to respond to the request ofboth a parent and service provider to
change a student's Individualized Education Plan (IEP), I failed to contact said student's
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rnother and service provider to review and ensure that they couid be in attendance dwing
a¡r IEP review, and I falsety documented that said mother had participaled, via
teleconfèrence, in the annual review ofher cbild's IEP and never had the telephone
conference at CSE on June 28,2A71." Why has OSI never established a timeline for the
case as a whole nor does it share timelines r.rnique to CPSE Administrator Lisa Saracuse
or myselfl The complaint and investig¿¡i6a hinges on one case, and one meeting that is
blatantly biased and without proof assunres that Mother A and Christopher Treiber,
Director of AHRC are côüect without corroborating documentation.

ln response to both the OSI letter dated July 28, 2015 and the OSI letter dated August 14,
2012 (of which I was never mailed a copy, nor v/ås it placed in my personnel fïles or
archived files but only secured through the Law Offtces of Neal Rosenberg by email on
September 5, 2015) from Division of Human Resoutces, Ofñce of Personnel
Investigation is the following:

How could I have failed to follow the timelines when the case was originally opened with
another CPSE Administrator that I was never made aware of and the timelines referenced
in the letter dated August 14, 2012 is murþ? If I were to prepare for an Impartial
Hearing I would m.ake certain that I knew the exact timelines and not cite "around
September 2OlI" as a hard date. This vague and uncertain language could not be
defended. at an Impartiat Hearing yet it was used to destroy my careerl

How could I have failed to respond to the request of said Mother and service provider to
change a student's IEP when in fact an AR2P recommendation by definition is a change
to the IEP?

How could I have failed to contact Mother to ertsurs h€r'attendance cluring a¡r IEP q*ui*i 3
when I had to have a prior conversation with said Mother to otrtain a pltone.numbef to J
hold the meeting at a specific date, time and room with DOH' tetephone acÉtss at tho I
CPSE office before the meeting comrnenced osJune 28, 2011?                               ç,#
How could I have falsely documented that said Mother had participated, via
teleconference? OSI has alleged fraud to my reputation. An OSI allegation stated I
unilaterally had a meeting with myself and falsified the IEP document. OSI has failed to
investigate this allegation with no apparent investigation of the DOE telephone *-, ,
recordings made on June 28, 2011 from a DOE telephone I conducted at CPSE with said
                                                                                          i


Mother. lvhy did OSI suppress it's olvn investigation by not checking phone records? ,i
Incid.entally, Mother A was uge¡rt to llave the meøting âs soon as possible and agreed ¿i
piio, to ltave the meeting oo tiu påone with a T for parent signatùre tlue to her busy'-'
schedule as a doctor with a new position.

The OSI August !4,zllzletter written by Ms. Be¡a¡dino stated, "Mother insisted that
she did not have a telephone conversation with Ms. Richardson on June 28,2011. In fact,
Mother A insisted that she had just changed jobs at that time and coulcl not have been
reached by telephone. Furthermore, Mother A was adamant that she would never have
agreed to keep the same IEP when she had been advocating for her son to receive
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additional services." I absolutely had to have had her telephone number to reach said i
Mother to scheclule and conduct the meeting on June 28,2A71 by DOE telephone ut :t
CPSE as requested by Mother which was to change agencies not increase her child's
sewices on June 28, 20t1. Incidentally, an AR 2P is by definition a change to the IEP,
therefo¡e Mother A never kept the same IEP.

In the OSI August 14,2012letter, Ms. Berardino w'rote, As a resulto "around November
2010,'Mother A also requested that Student A be re-evaluated. However, according to
Mother A, she never received a reply from the CPSE," It should be noted (inconectly and
in contradiction to the CPSE SOPN,Ð OSI called this an annua.l review rather than a
requested review. OSI shouid have understood that the parent had an existing IEP and
was seeking a modification to the existing IËP. Consistent with the CPSE SOPM this is
referred to as a requested review. Regrettably OSI confused an annual review with a
requested review (inconsistent \¡/ith CPSE SOPM). What letter "around Novembcr"
2010? What date was it written? What date was it received by the CPSE?     Ï/hy   is thc OSI
timeline so blurry? In the OSI August 14, 2015 lettet, on page 3 is not "arou¡rd
Novcmber" rather vague for a timeline OSI is âccusing me of beíng out of complizurce?
When in November? Was it November I'torperhaps November 30e?

In the OSI August 14,z}lzletter, Ms. Berardino wroter 'oMothet A further stated that, in
April 2011, after several attempts to reach CPSE Adminishator Lisa Saracuse via
telephone, Ms. Saracuse informed her that she was no longer Student A's CPSE
Administ¡ator, but the case had been assigned to Ms. Richardson. Ms. Richardson did not
rehrm any of her phone calls." What date and what time is OSI citing? Apparently OSI
clid not consider that the case was shared between two Administrators and failed to
determine the date the case was transferred. Mother A stated I could not retufir any of her
phone calls because she had just changed jobs at the time and could not have been
reached by telephone. Did Mother A not have a home or cell phone? If I couldn't reach
her by telephone how could I have scheduled a meeting she alleged f never had? Again
OSI could never determine if the parent was telling the truth because they relused to
oheck the DOE phone records on June 28,2011, The bias of OSI to blatantly accept the
Mother's word and suppress its own investigation suggests a conflict of interest and very
questionable practices.

How could I answer questions atthe OSI hearing conducted on December 16,2011 by
investigator Steel, when not only did I not have access to the offrcial DOE file on said
student and.,l'wai"never'informed,w.hat.thg meeling ryas about or who was in question
.rqtil I arrived that day with CSA rcpresentative Phyllis Williams? I was told by
investigator Steel to &nswer detailed questions based on no information whatsoever I had
for a meeting that occurred seven montlrs prior. OSI asked me to answer detailed
questions about the steps leading to an IEP meeting and possible IEP participants based
on a complcx sequence of events (timelines) between two different CPSE Administrators,
Lisa Saracuse and myself. OSI refused to cooperate in their own investigation by denying
me the opportunity to have the ofücial student records, docunents, CAP access and
timelines of events that allegedly occurred between two different CPSE Administrators.
Did OSI seek factual answers to their own investigation?
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                                                      o'You lvete given the oppornmity to
Furthennore, the July 28,2015 OSI report stated,
review the above information with the Office of Personnel Investigation and to provide
information in support of your application during your review, conducted ot7/2012015."
'Ihis is a blatant falsehood and should be investigated- I was uever given an opporfunity
to review the   above infomration (WTat Information) with Office of Personnel
Investigation nor any information in support (What Information in Support) of my
application (What application) during my interview, conducted o¡7DA/2015. I was never
even in possession of the August14,2012letter from OSI written over three years earlier
nor told why I was "InEligible" status or given a reason for my requircd âppeaÌance to
OSI on July 20,20L5.

In the OSI letter dated August 14,201} Ms. Bera¡dino r¡note "[n Septernber 2011,
Mother A reported to ltztr. Christopher Treiber, Director of Advocacy Services, AHRC
New York City that, during the 2010-2011 school year, the CPSE had neglected to re-
evaluate Student A's IEP despite her insistence and that of the service providers." Did
                                                          '!Vho has the due process right the
OSI not rcalize that students a¡e evaluated not IEP's?
student or the IEP? Was Lisa Saracuse assigned Adminishator at that point? IVhat letters
were filed for a re-evaluation? The meetirtg I held with said Mother on June 28,2071
three months earlier was a requested review by Mother to change agencies, there was no
mention or letter acldressed to me I had in my possession requesting a re-evaluation and
additional services. $fhÊi€füiãiÈlthe¡tcacher¡and:ssrryioe:prÐr'idsrsl',justificatio¡,letts-rÞ;for::,
additiOñái'íèitices? Wh¡t dates were these letters? If in fact there were letters, were they
certified, ¡eturn receipt requested?

In the OSI letter dated August 14,2072 Ms. Berardino wrotc, "Mr. Treiber stated t$at,
under Section 200.16 of the New York State Regulations of the Commissioner of
Eclucation, and undcr Education Law, Article 89, subsection 4410, the CPSE should have
responded to Mother A's request for evaluation within 90 days, but did not. Moreover,
the CPSE had 30 days within which to contact Mother A and acknowledge the request for
re-evaluation." Did lvfr. Treiber want to attend as a mandated participant? Is he a clinician
or teacher? Where,is,his,,,le-tter.,4e.Eu,çsþg,,p-a¡t!cipation? ln what capacity was he a
mandated participant to the IEP consistent with the practices set forth in the CPSE
SOPM? Did the said Mother or Mr. Treiber file an EV-IP on Preschool Letterhead or
was a C-2P letter ever generated? Furthe¡more, has OSI suggested I violated LRE PL
 94.142 by fautting me for not arranging for unnecessary testing? Why would progrsss
reports by current providers not be relevant by fhe CPSE? Administrator Lisa Saracuse
conducted the initial evaluation on said student. What were the dates of the initial testìng
evaluations and the date of the initial IEP meeting? Why was the timeline so blurred in
the OSI investigatiors?

In the OSI letter dated August 14, 20L2 Ms. Berardino unote, "Lastly, Mr, Treiber
explained that, in order to change a shrdent's IEP, the student's parent and service
provider must be present. However, neither Mother A, nor the service provider,
Functional Life Achievement, Inc., was present at Student A's annual IEP review on June
28,2011; instead, Ms- Richardson was the only person present" 'ltht3'iVas a blatant and
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false allegation. This was not an annual ¡eview mqgting þut a requested review by the
Mother.to change servic.e provider,agencies and said Mother rilas on the telephone with
me. I believe said Mother and Mr. Treiber are confusing the reconvene meeting with an
annual review. OSI took lr4r. Treiber's word that the service provider must be pbysically
present to make the IEP amendment valid. tn.fact based on the actual parental request ât a
Iive meeting we lvere able to conectly amend the IEP.

In the OSI August t4, 2012 letter Ms. Berardino wrote, "In           January 24, 2012,
investigator Steel interviewed M¡. Donegan, Co¡runittee on Special Education   ("CPSE"),
Chaþerson, at OSI, in the presence of Carol Atkins, CSA Representative.     At   the time,
Mr. Donegan stated that he had no information about this    particular  câse. In  the OSI
                                                           o'At that time, Mr.
August t4, 2012 lctter on page 4 Ms. Bernardino     wrote,                       Donegan
stated that he had no information about this particular câse." Yet in the same OSI letter
on page 6 Ms. Bera¡dino wrote "Ms. Richardson denied that Mr. Donegan, her
supervisor, had spoken to her about Mother A's complaint." This is a false allegation and
contradiction in acousations to my credibility and professionalism by Ms. Berardino.
How could Mr. Donegan have spoken to me about this case when he in fact knew nothing
about it himsetf? This is another example of OSI's false and outrageous aliegations.

In the sane lettet, Ms- Berardino wrote, "Mt. Donegan stated that, du¡ing the 2010-
2011 school year, there was a lot of tumover in the CPSE office. He said that, at the time,
Ms. Richardson was new to the job, the environment was chaotic, the caseload was high,
and this case must have fallen through the c¡acks." See footnote 13 "Investigator Steel's
notes did not indicate whether these statements, or portions thereofl were direct quotes."
Neverthcless, the statements written by Ms. Berardino, who replaced investigator Steel,
were Mr. Donegan's absolute answers.

In the OSI August 14, 2012 ietter Ms, Berardino wrote,           "'!Vhen questioned, Ms,
Richardson  was   very evasive and refirsed to explain her respousibilities and the referral
process for preschool students. Furthermore, Ms. Richardson did not recall handling
Student A's cass, and said that she was not familiar with Student A o¡ Mother 4." OSI is
contradicting itself because they denied me the ability to answer their questions in cletail.
This was one of a thousand cases handled seven months prior to the OSI investìgation of
December 16, 2011. FIow could I possibly remember specific details for every case I
handled?

In the OSI letter dated Augusf. 14,2012 Ms- Bera¡dino wrote, "During the interview,
investigator Steel showed Ms. Richa¡dson a copy of Student A's IEP, dated June 28,
2011, and entitled "Final Notice of Recomrnendation/lvlodification of TEP. Ms.
Richardscrn aclrrowledged that she had filled it out and that it contained her signahrre, but
could not recall any specifics, including the alleged teleconference call with Mother 4."
This is an outrageous allegation. I did in fact acknowledge my signature line and
explained the T was for telephone conference with said Mother conducted over the phone
who in fact gave me permission to sign with a T prior to the meeting. I never said I could
not recall any specifics, including the alleged teleconference call with Mother A. If my
signatrrre was there and there was a T for teleconference call I conducted the call with
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Mother A's permíssion to sign a T for a DOE telephone confe¡ence at CPSE on June 28,
2011. Why didn't oPI investigate the DoE telephone ¡ecords on June 28,20II?

In the OSI ]etter dated August 14, 2012 Ms. Berardino wrote, "When questioned about
why Student A's service provider had not been present during that meeting since the
name and the signature of the service provider were left blank, Ms. Richardson stated that
it is not unusual for a service provider to be absent durine an IEP meeting.'o'Ihis is a false
and unfounded allegation. I never would have made such an outrageous a¡rd erroneous
statement. If a requested meeting by a Mother was to change agencies it could be
conducted over thaphone and a service provider could be presônt or reached by phone,
but not mandatory. If it were an annual review (which it was not) of course service
providers would be present for the meeting as stated in the CPSE SOPM-

In the OSI letter dated Augu sl 14, 2012 Ms. Bera¡dino wroto, "Ms, Rjchardson would
neither confirm nor deny whcthcr it was the policy to attempt to accornmodate a palent to
attend an IEP meeting in persor¡ rather than a telephonic conference call. Additionally,
she could not say u¡hether she had docunented any attempts to contact Mother A and/or
the service provider before scheduiing the June 29,20L1 IEP meeting." OSI is inconect
when they refer to the IEP meeting being held on June 29,2011. The meeting was held
on June 28,2011. This is an outrageous allegation. It has always been the policy to
attempt to acconrmodate a parent to attend an iEP meeting in person, rather than_a
telephonic conference call. Of cowse I contacted Mother A. How else would I have held
u nCln Þlephone conference on June 28, 2}ll at CPSE with said Mother on the
telephone? Once again why didn't OSI check the DOE phone records?

In thc OSI letter dated August !4,2012, Ms. Berardino lanote, "Ms. Richardson was not
able to articulâte what occurs when a case is transferred from one CPSE administrator to
another or what the responsibilities of the newly assigned CPSE admjnistrator would be
when a case is transfened. Ms. Richardson did not recall whether Ms. Saracuse was the
first CPSE administ¡ator assigned to Student A. Ms. Richardson did not recall receiving
any cases from Ms. Saracuss." In fact, I did state that CPSE Administrator Lisa Saracuse
handled student A's initial CPSE case and that I did not provide the initial services, she
did. My CPSE Administrative responsibility requested by said Mother was to reconvene
to have the agency cbanged, Nothing mote. I do emphatically recall not receiving this
case from CPSE Administrator Lisa Saracuse. What was CPSE Administrator Lisa
Saracuse's timeline in this case?

How could I have an adverse employment history with the DOE? My career began
working at 65 Court Street, Huma¡r Resources with Supervisor, Alice Stasinski. I worked
as a Special Education Teacher, Supervisor ofSpecial Education, Instructional Support
Specialist, Assistant Principal LA., CSE Teacher Assigned and CPSE Administrator from
tglt to 2012.\ never had a blemish to my career and reputation and 1 received only "S"
ratings during the 30 plus years in service with the DOE'
C'ase   l-: 16-cv-0L364-J PO Document L3-3 Filed 0511-9/1-6 Paqe 37 ol45
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                       'L364 Document 1-4 Filed O2l22l1' Page I of         I

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              the OSI Report Case No. lI-9350 dated July 28, 201.5 and the OSI August
74,20L2           alle ge4 unsr¡bstadiate4 flawerl and open fot legal aotíon"
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   Educåtlon
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October 20,2075


Rosemade Richa¡dson
(>22 Eas¡20'h St., itpr 98
New Yotk, NY 10009


Ijcclsc,/'.lirle,/Position: Special Eilucation Supen'isor/Teacher/Manual Therapy Centet/ DOE Vendor
Å pplican t lÍ)lh O303676
PRP     #:     128,638

Deat Ms, fuchatdson:

I have reviewed yoru September 21,2015 request for recouside¡aúon, received by this of6ce Septembet                              30,
2015, regalding the denial of your applicant for sccurity dea¡ance due to adverse employment history witb
the ¡tYC D()È, and speci{ically a substanüâted report ftom the OfEce of Special Invescigaúons. I }rave als<¡
¡eviewed your entLe file in consídçring your request.

-å,fter due considetetiou and reqiew of your case, I arn afftming the otiginal ñrrdings of your denial
                                                                                                           You
rnay reapply fcrt security clea.reoce no e¿tliet tha¡r trûelve (12) mooths ftom the date of the oriCl"^l decision,
that beir:rgJuly 2;8,2015, aad upon teceiving                 a   valid iob offer.


Siacetely,




IGtbe¡ine G, Rodi
Ditectoç Office of Empioyee Relations
                                      f.'u
Dirrisjon of Hurnan Resou¡ces (ilHR)


Cc:
   Neal H. Rosenberg, âttotney fot lvfs. Riche¡dson
   6lc




                        Offrce of Personnel lnvestigation   ¡ 65 Courl Slreet ¡ Room 200   '   Brooklyn,   Nar Yotk   1   1201
                                                            OPI INFO@schools.nYc.gov
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                              IN THE MATTER.OFÎIIE CLAIM OF
                                        RCISEMARTE RICHARDSON

                                               -1gqin5¡-

   TIrE NE\il YORK CfrY DEPÅRTMENT O[' EDUCATION, TllE Nf, ]V YORK CITY
               BOÀRD OF EDUCATION A!{D TIIE CITY OF'NE\Y YORK



 TO:    TnE BOARD OX'EDUCATION Ox' TIIE CITY OF NETV YORK AND/OR
        TITE DEPARTMENT OF EDUCATION OF THE CITY Otr IIüDW YORK
        52 Chambsrs Sneet Room 320,84
        NcwYorlqNew York 10007

        OFtrTCE OF'TTIE COMPTROLLER OF THE CITY OF NE\T YORK
         One Center Street
        ìícw York" New York 10007

         THE CORPORATION COUNSEL OF THE CTTY OF NIW YORK
        100 Church Street,5û Floor
        NewYork, NewYork 10007


         TAKE NOTICE that the urdersigned clai¡uant hereby makes claim and demand against
 youas follows:

             l.   Thc name and post ofñce add¡ess of the slairnsnt and her attorney is:

                     a.   RosemaireRicha-rdson
                          622Ûast20û Street, #98
                          NewYork,NY 10009

                          Itko$,itz PLLC
                          Att.IayB. ttkowitz
                          26 Broadway,2ts Floor
                          NewYork,NY    10004
                          646 822 tEor
                          iidislu,iiu   AiÈau&açen

        2. The nature of the claim: Tt{E BOARD OF EDUCATION OF TI{E CITY O}'
 NEY/ YORK A}.ID/OR THE DEPARTT\dENT OF EDUCATION OF THE CITY OF NEÏi¡
 YORK CÐOE') deprived Ms. Richardson of her constitr¡tional rigþts prusuanr to the 14ô
  Amendment of the Uniûed States Constitution and ber statutory ríghts pw*rant to the New York
  State Education [,aw $ 3020-a by subjecting Ms. Richardson to disciplinary proceedings and
  placing Ms. Richa¡tlson on an "incligible list" thereby stigmatizing her and damaging her liberty
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and property interests all without the benefit of a hearing as required by the United States
Conslitution and the New York State Education Law.

           3. On Octobsr t3, 2011, the Office of Special Investigations f'OSI") received a
¡cfcrr¿l Èom the Special Commissioner of Investigation ('SCI") claiming Ms. Richatdson, a
supewisory employee with tenure, had "falsely docu¡nented" that a mother had par:ticipated in a
telephone conference with the respect to a student's Individualized Education Program (*IEP").
On Novembû 29,2011, an OSI investigator notified Ms. Richardson that she was the subjeot of
an investigation wíthout giving any details of the allegations- Subsequently, the OSI investigator
conducted an "interview" with Ms. Richa¡dson on December 16,2011. Ms. Richardson denied
the allegations and was not permitted access to her records at the time and the investigator did
not at aay time check the teþhone records maintained by thc Departfi¡ent of Education with
respect to telephone conferences in an effort to document the phone call that the parent claimed
did not occr¡r. To Ms. Richardson's knowledge, nothing ever occurred after the interview on
December 16, 2Al1- Ms. Richardson retired in or about Juue or July of 2011. Unbeknownst to
Ms- Richardson, OSI continued to process the complaint without notice of any kind to Ms.
Richardson by decision dated August 14,2012 in OSI Case #l l-9350, 'osubstantiated' that Ms-
Richa¡dson hâd purportedly "falsãly documented" that tlre subject parent had participated in a
telephone confercnce on June 28,2A11, failed to contact the student's service provider to
schedule the IEP conference, failed to contact the mothe¡ of the student to schedule the IEP
conference and failed to follow various "tirnelines" imposed by the NYS regulations and the
Education Law. Ms. Richardson did not ñnd out about this adminishative action until July 20,
2015, The gircumstancss by which she discovered this action ocouned when she applied for a
position with Ma¡rual Therapy Center,Inc. on ,{pril23,2015" As part of the vetting process, her
name was submitted for vetting for security clearance \Mith the DOE. Her application for security
was denied and it was not until July 20, 2015 that she learned of somo unspecified action by the
DOE had resulted in her being placed on an "lneligible List." In fi:¡ther investigating the
circumstances of this event, she checked her file with DOE and discovered that no record of such
action was contained in her personnel files. It took a letter from her prior corursel, Neal
Rosenberg, dated August 12, 2015 to dislodge the offendíng letter documenting the
administative action from DOE which he received on or about Sepember 9,2015 in which he
received the detenninatíon via email from Mallory Sullivan. Subsequently, Mr. Rosenberg
requested that Ms. Sullivan reconsider the detemrination in issue via letter dated September 29,
2015. By letter dated October 2A,2015, Katherine G. Rodi, Di¡ector of the Office of Employee
Relations for the DOE,
                         *affrmed" the original findings in the determination dated Augut 14,
 7012. Tlne foregoing actions by the OSI, the DOE, the Board of Education and the City of New
York" deprived Ms. R.ichardson of her constitutional and statutory rights to due process and to
defcnd the allegations before an impartial court anrVor heariug officer and the right to confront
those who accused her of the chargcs which were substantiated.

            4. The items of damages claimed are as follows: The placement of Ms. Richardson
on the Ineligible List without due process has damaged her by costing her aposition with Ma¡rual
Therapy Center, [nc, as  well as damage to her reputation and standing         in the educalional
community logether with associated emotional distress.
case 1:l-6-cv-Ô1364-JPO  Document l-3-3 Filed 05/l-9/1-6 Paqê 43 0t 45
     Case L:16-c 'll-364 Document l"-6 Filed A2l22l1 Page 3 of 5




               The undersigrred claimant tlerefore presents this claim for adjustrnent and
pâyment. You are hereby notified that unless it is adjusted and paid within the ti¡ue provided by
law frorn the date of presentation to yor¡, ihe ciaimant intends to commence an action on this
claim-

Dated:         January i   l, 2016
               New York,New York                                                        I




                                                      ITKOWITZPLLC
                                                      A                 þr   Cløimant

                                                                  r


                                               By:
                                                       Jay
                                                      26                  , 2lst Floor
                                                      New                New York 10004
                                                          (646)         1801
                                                      jitkowitz@itkowitz. com



STATE OF NEW YORK                      )
                                       ) SS
COUNTY OF NEW YORK                     )

                The undersigned being duly sworrl deposes and says that deponent is the claimant
 in the within aclion; that she has read the foregoing Notice of Claim and knows the contents
 thereof; that the same is true to deponent's own loowledge, except as to the matters therein
 stated to be alleged on information and belíef, and that as to those matters deponent believes it
 to be true




                                                          ROSEMARIE                         soN
Swom to befors
This i lth day of   J      ,2016


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Case   1: L6-cv-O1-364-J PO Document l-3-3 F¡led 0511-9/1-6 Page 44 of 45
       Case 1:1"6-c \L364 Document 1-6 Filed O2l22l3 Page 4 of 5




                                Ar[fnavrx_oqsERVIcq
  STA]3 OF NEW YORK                    )
                                       )   ss-
  COUNTY OF NEII¡Y YORK                )

                  The undersigned, being duly sworn, says:

                 I ary not a party 1o this action, arn over 18 years of age and am employed
  at Itkowitz PLLC, 26 Broadway,2l st Floor, New York, New York 10004.

                 On the llth Day of January 201ó at 3.20 p.m. I personally served one (l)
  copy of the annexed Notice of Claim (hereinafter refened to collectively as "the papers")
  on the Ofüce of the Comptroller of the City of New York at the address below. A proof
  ofsuch delivery is attached hereto.

                  Thc address refened to above is as follows:

  TO:      OFFICE OF THE COMPTROLLER OF                           OF   NE\il
           One Center St¡eet
           NewYork,NewYork 10007



                                                                          TS



  Swom to before me this
  l lth Day January 2016



  NOTARY PUtsLTC
Case l-:l-6-cv-01364-JPO Document               l-3-3 Filéd 05/l-9/1-6 Page 45 of 45
      Case L:16-c '1"364 Document               L-6 Filed O2l22l1 Page S of S




                               AFFIDÄV1T On'SBRVLçE

 STATE OF NEW YORK                    )
                                      )   ss.
 COIJNTY OF NEW YORK                  )

               The undersigned, being duly swom, says:

                I am not a party to this action, am over 18 years ofage and am employed
 at ltkowitz PLLC, 26 Broadway, 2lst Floor, New York, New York 10004.

                On the l lth Day of January 2016 at 3:28 p.m-, I personally served two (2)
 copies of lhe'arurexed Notice of Claim (hereinafter referred to collectively as 'the
 papers') on the Board of Education of the City Of New Yo¡k and/or the Deparünent of
 Education of the City of New York ai,rd the Corporation Cor¡nsel of the City of New
 York. A proofofsuch service is attached hereto-

               The address referred to above is as follows:

 TO:    THE BOARD oF EDUCÀTION OF THn g¡1y OF II{EIY YORK AND/OR
        TIIE DEPARTMENT OF EDUCATION OF TTIE CITY OF NEW YORK
        52 Chambers Steet, Room 320, 84
        New York, New York 10007

        TIM CORPORATION COI]NSEL OF THE CITY                   OF NEW YORK
        100 Chwch Street, 5ft Floor
        NewYork,NewYork 1000?




                                                         SAM SMOUHA


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